Case 1:05-cv-01067-.]DT-STA Document 24 Filed 04/25/05 Page 1 of 3/9(?39€® 10

IN THE UNITED STATES DISTRICT COURT v ’°P <9/,,
FoR THE WESTERN DISTRICT oF TENNESSEL/:-vg;</vp 44,
EASTERN DIVISION fhan <SE' §§
l 1.:/`5`“;`(/' //)" .,
PAULINE THARPE, by next friend ) ” /?!/1'/;;0/£§£//¢
and actomey, MARSHALL THARPE, ) "Gz;;»/,OC;
) `“f
Plaintii`f, )
)
v. ) NO. 05-1067 T/An
)
MERCK & CO., et al., )
)
Defendants. )

 

ORDER DENYING MOTION FOR EXTENSION OF TIME

 

Before the Court is the Motion of Defendant Rormie L. Batchelor for an Extension of
Time to Answer or Respond to Plaintiff’ s Complaint filed on April 6, 2005. On April 21, 2005,
Mr. Batchelor filed his Answer with the Court; therefore, the instant Motion for Extension of
Tirne is DENIED as moot.

IT IS SO ORDERED.

<§Wm/MA@.Q

S. THOMAS ANDER§'ON
UNITED STATES MAGISTRATE JUDGE

Date: @ ZZ! ZODJ/

 

 

Thls document entered on the docket sheet ln ogmplla\lco

with nme sa an¢'or_?e (a) FRGP on ._Q:LB_'Z_G_E’_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:05-CV-01067 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

ESSEE

 

Thomas M. Donnell

STEWART ESTES & DONNELL
424 Church St.

Ste. 1401

Nashville, TN 37219--239

J ames M. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Thomas F. Preston

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/1emphis7 TN 38103--540

Steven G. Ohrvall
H[LL BOREN

191 Jefferson Ave.
1\/lemphis7 TN 38103

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/lemphis7 TN 38103

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson7 TN 38303--053

Case 1:05-cv-01067-.]DT-STA Document 24 Filed 04/25/05 Page 3 of 3 Page|D 12

Stephen P. Hale

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/lemphis7 TN 38103

Pam BeleW

CIRCUIT COURT CLERK
Weakley County Courthouse
P.O. Box 28

Dresden7 TN 38225

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/1emphis7 TN 38103--540

Honorable J ames Todd
US DISTRICT COURT

